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Special Verdict Form

Important:

In the following pages, you will fulfill your role as jurors by answering a series of questions. For
questions with yes/no answers, indicate your answer by placing a check mark next to your
selected response. Your response to each question must be unanimous.

You should complete the questions in the order they are written. However, you may not need to
answer each question. Carefully read and follow the instructions printed in italics.

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FINDINGS OF FACT

1. Do you find by a preponderance of the evidence that Anderson was aware that Miller faced
a substantial risk of serious harm or is there enough circumstantial evidence to support an
inference that Anderson failed to verify or confirm a strongly suspected serious risk to
Miller?

ANSWER:

Yes %

No

Proceed to the next question.

2. Do you find by a preponderance of the evidence that Anderson consciously failed to take
reasonable measures to address the substantial risk of harm to Miller despite his knowledge
of a substantial risk of serious harm?

ANSWER:

Yes x

No

Proceed to the next question.

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CLAIM ONE AGAINST ANDERSON

3. Do you find by a preponderance of the evidence that Anderson was deliberately indifferent
to Miller’s serious medical needs? The elements of this federal claim against Anderson are
explained in Final Instruction Nos. 26-29.

ANSWER:

No

if you answered Yes, proceed to question 4. If you answered No, proceed to question 5.

CLAIM ONE: DAMAGES

4. Refer to your answer to the prior question. If you marked yes, state the total amount of
damages caused by Anderson to Miller because of his violation of federal law. If you find
that Miller has not proven by a preponderance of the evidence that she is entitled to
compensatory damages for claim one, you must award one dollar as nominal damages.
Damages are explained in Final Instruction Nos, 41-50.

ANSWER:

Anderson
$ ADO, O00

Proceed to the next question.

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CLAIM TWO AGAINST DAVIS COUNTY

5. Do you find by a preponderance of evidence that Miller has established that Davis County
is liable to Miller’s estate? The federal claim against Davis County is explained in Final
Instruction Nos. 30-36.

ANSWER:
Yes
No

Ifyou answered Yes, proceed to question 6. If you answered No, proceed to question 7.

CLAIM TWO: DAMAGES

6. Refer to your answer to the prior question. If you marked yes, state the total amount of
damages caused by Davis County to Miller because of its violation. of federal law. If you
find that Miller has not proven by a preponderance of the evidence that she is entitled to
compensatory damages for claim two, you must award one dollar as nominal damages.
Damages are explained in Final Instruction Nos. 41-50.

ANSWER:

Davis County

Proceed to the next question.

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STELLA’S CLAIM THREE AGAINST DAVIS COUNTY, RICHARDSON, ANDERSON,
AND ONDRICEK

7. Do you find by a preponderance of the evidence that Stella has established her claim under
the Utah state constitution against the following Defendants? The state constitutional claim
against Defendants is explained in Final Instruction Nos. 37-40.

ANSWER:

Davis County

Yes c

Anderson

Yes

No ‘
Ondricek
Yes

No

Ifyou answered Yes to any of the Defendants, proceed to question 8. If you answered No to all of
the Defendants, proceed to question 9.

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8. Refer to your answer to the prior question. For any Defendant for whom you marked yes,
state the total amount of damages caused by each defendant to Stella because of that
Defendant’s violation of state law, If you find that Stella has not proven by a preponderance
of the evidence that she is entitled to compensatory damages for claim three, you must
award one dollar as nominal damages. For any Defendant for whom you marked no, do not
fill out the blank. Damages are explained in Final Instruction Nos. 41-50.

ANSWER:
Davis County

$_2,000, 900

Richardson

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Anderson

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Ondricek

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Proceed to the next question.

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MILLER’S CLAIM THREE AGAINST DAVIS COUNTY, RICHARDSON, ANDERSON,
AND ONDRICEK

9, Do you find by a preponderance of the evidence that Miller has established her claim under
the Utah state constitution against the following Defendants? The state constitutional claim
against Defendants is explained in Final Instruction Nos. 38-41.

ANSWER:

Davis County

Yes wh

No

Richardson

If you answered Yes to any of the Defendants, proceed to question 10, If you answered No to all

of the Defendants, proceed to question 11.

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10. Refer to your answer to question 9. For any Defendant for whom you marked yes, state the
total amount of damages caused by each defendant to Miller because of that Defendant’s
violation of state law. If you find that Miller has not proven by a preponderance of the
evidence that she is entitled to compensatory damages for claim three, you must award one
dollar as nominal damages. For any Defendant for whom you marked no, do not fill out
the blank. Damages are explained in Final Instruction Nos. 41-50.

ANSWER: —

Davis County
$ 3, 250,000

Richardson

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Anderson

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Ondricek

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Proceed to the next question.

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DUPLICATIVE DAMAGES

11. Miller has two claims against Anderson (claims f and 3). If you awarded Miller
compensatory damages for both claims against Anderson, please state the total amount of
compensatory damages to which you find she is entitled. In calculating the total amount
of damages, do not include the same damages twice. That is, if Miller suffered the same
injury or injuries for both claims, she may only collect damages for each injury once. See
Final Instruction No. 44. ¥f you awarded nominal or no damages for one or both claims,
you do not need to answer this question.

ANSWER:

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Proceed to the next question.

12. Miller has two claims against Davis County (claims 2 and 3). If you awarded Miller
compensatory damages for both claims against Davis County, please state the total
amount of compensatory damages to which you find she is entitled. In calculating the
total amount of damages, do not include the same damages twice. That is, if Miller
suffered the same injury or injuries for both claims, she may only collect damages for
each injury once. See Final Instruction No. 44, If you awarded nominal or no damages
for one or both claims, you do not need to answer this question.

Proceed to the next question.

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PUNITIVE DAMAGES: RICHARDSON AND ANDERSON’S LIABILITY TO STELLA

13. Do you find by clear and convincing evidence that Steila is eligible to receive punitive
damages against any of the following Defendants, and if so, do you choose to award
Stella punitive damages against such Defendant(s)? The basis for punitive damages is
explained in Final Instruction Nos. 51-52.

ANSWER:
Richardson
Yes
No x
Anderson
Yes
No xX
If you answered Yes to either Defendant, proceed to the next question. If you answered No to both
Defendants, proceed to question 15.

14. Refer to your answer in the prior box. For any Defendant for whom you marked yes, state
the amount of punitive damages that you choose to award to Stella. For any Defendant for
whom you marked no, do not fill out the blank. The amount of punitive damages is
explained in Final Instruction No. 53.

ANSWER:
Richardson

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Anderson

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Proceed to the next question.

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PUNITIVE DAMAGES: RICHARDSON’S LIABILITY TO MILLER

15. Do you find by clear and convincing evidence that Miller is eligible to receive punitive
damages against Richardson, and if so, do you choose to award Milter punitive damages
against Richardson? The basis for punitive damages is explained in Final Instruction
Nos. 51-52.

ANSWER:

Yes

No

Ifyou answered Yes, proceed to the next question. If you answered No, proceed to the next
question.

16. Refer to your answer in the prior box. If you answered yes, state the amount of punitive
damages that you choose to award to Miller. If you marked no, do not fill out the blank.
The amount of punitive damages is explained in Final Instruction No. 53.

ANSWER:

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Proceed to the next question.

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PUNITIVE DAMAGES; ANDERSON’S LIABILITY TO MILLER

17. Do you find by a preponderance of the evidence that Miller is eligible to receive punitive
damages against Anderson? The basis for punitive damages is explained in Final
Instruction Nos. 51-52.

ANSWER:

Proceed to the next question.

18, Do you find by clear and convincing evidence that Miller is eligible to receive punitive
damages against Anderson? The basis for punitive damages is explained in Final
Instruction Nos. 51-52.

ANSWER:

Proceed to the next question.

19. If you answered yes to question 17 er 18, do you choose to award Miller punitive
damages against Anderson? The basis for punitive damages is explained in Final
Instruction Nos. 51-52.

ANSWER:
Yes

no NM

if you answered Yes, proceed to the next question. If you answered No, proceed to the closing
instruction.

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20, Refer to your answer in the prior box. If you answered yes, state the amount of punitive
damages that you choose to award to Miller. If you marked no, do not fill out the blank.
The amount of punitive damages is explained in Final Instruction No. 53.

ANSWER:

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Proceed to the closing instruction.

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CLOSING INSTRUCTION

After answering the questions above as instructed, the Jury has completed this Special Verdict
Form. The Jury Foreperson should sign the document for return to the court.

DATED this 2 Z day of {U iy , 2022

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Jury Féfeperson

